Case 2:04-Cr-20309-BBD Document 45 Filed 04/25/05 Page 1 of 2 Page|D 40

IN THE U'NITED STATES DISTRICT COURT
FOR THE WES'I‘ER.N DIS'I'RICT OF TENNESSEE
WESTERN DIVISION

  

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UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20309-]3

ROBERT LORD
Defendant. )

-_,

 

oRDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to he heard on April 19, 2005, the United States
Attorney for this district, David Charles Henry, appearing for the
Government and the defendant Robert Lord appearing in person and with
counsel, Lee Howard Gerald who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s ) l and 2 of the
Indictment.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for MON'DAY, JUL'Y 18, 2005.r at
1: 00 P. M., in Courtrodm No. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this tyler day of April, 2005.

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David Charles Henry

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Honorable Bernice Donald
US DISTRICT COURT

